
Appeals from D. C. W. D. Tex. Applications for stay, presented to Justice Scalia, and by him referred to the Court, granted, and it is ordered that the orders issued by the United States District Court for the Western District of Texas on November 23, 2011, in case No. SA-11-CV-360; November 25, 2011, in case No. SA-ll-CV-788; and November 26, 2011, in case No. SA-ll-CV-360, are hereby stayed pending further order of the Court. In addition, the applications for stay are treated as jurisdictional statements, and in each case probable jurisdiction is noted. The cases are consolidated, and a total of one hour is allotted for oral argument. Briefs for appellants and appellees, not to exceed 15,000 words, are to be filed simultaneously with the Clerk and served upon opposing counsel on or before 2 p.m., Wednesday, December 21, 2011. Reply briefs, not to exceed 15,000 words, are to be filed simultaneously with the Clerk and served upon opposing counsel on or before 2 p.m., Tuesday, January 3, 2012. Cases are set for oral argument on Monday, January 9, 2012, at 1 p.m. Reported below: No. 11-713, 835 F. Supp. 2d 209.
